                                 Case
  Fill in this information to identify the17-11314-LSS
                                           case:                                                 Doc 9              Filed 07/13/17                       Page 1 of 25
 Debtor        SOUPMAN, INC.


 United States Bankruptcy Court for the: District of Delaware


 Case number           17-11314
  (if known)
                                                                                                                                                                        ¨ Check if this is an
                                                                                                                                                                           amended filing

 Official Form 206Sum
 Summary of Assets and Liabilities for Non-Individuals                                                                                                                                12/15



  Part 1:       Summary of Assets



 1. Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .


     1b. Total personal property:
                                                                                                                                                                              $1,965.41
         Copy line 91A from Schedule A/B . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .


     1c. Total of all property:
                                                                                                                                                                              $1,965.41
         Copy line 92 from Schedule A/B . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .




    Part 2:       Summary of Liabilities



   2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D . . . . . . . . .



   3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206EF)


        3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                            UNKNOWN
            Copy the total claims from Part 1 from line 6a of Schedule E/F . . . . . . . . . . . . . . . . . . . . . . . . . . . .


        3b. Total amount of claims of nonpriority amount of unsecured claims:
            Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F . . . . . . . . . . . . . .
                                                                                                                                                                  +       $1,968,342.75




   4. Total liabilities . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                                                                                         $1,968,342.75
      Lines 2 + 3a + 3b




Official Form 206Sum                                                                                                                                                              Page 1 of 1
                                 Case
  Fill in this information to identify the17-11314-LSS
                                           case:                     Doc 9       Filed 07/13/17           Page 2 of 25
 Debtor        SOUPMAN, INC.


 United States Bankruptcy Court for the: District of Delaware


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  (if known)
                                                                                                                           ¨ Check if this is an
                                                                                                                               amended filing

 Official Form 206A/B
 Schedule A/B: Assets - Real and Personal Property                                                                                        12/15

 Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
 all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which
 have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or
 unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
 Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the
 debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional
 sheet is attached, include the amounts from the attachment in the total for the pertinent part.


 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


 Part 1:        CASH AND CASH EQUIVALENTS

 1.    DOES THE DEBTOR HAVE ANY CASH OR CASH EQUIVALENTS?
       þ       No. Go to Part 2.
       ¨       Yes. Fill in the information below.



          All cash or cash equivalents owned or controlled by the debtor                                                   Current value of
                                                                                                                           debtor’s interest

 2.    CASH ON HAND



 3.    CHECKING, SAVINGS, MONEY MARKET, OR FINANCIAL BROKERAGE ACCOUNTS
       (IDENTIFY ALL)



 4.    OTHER CASH EQUIVALENTS



 5     Total of Part 1.
       ADD LINES 2 THROUGH 4 (INCLUDING AMOUNTS ON ANY ADDITIONAL SHEETS). COPY THE
       TOTAL TO LINE 80.

 Part 2:        DEPOSITS AND PREPAYMENTS

 6.    DOES THE DEBTOR HAVE ANY DEPOSITS OR PREPAYMENTS?
       þ       No. Go to Part 3.
       ¨       Yes. Fill in the information below.


                                                                                                                           Current value of
                                                                                                                           debtor’s interest

 7.    DEPOSITS, INCLUDING SECURITY DEPOSITS AND UTILITY DEPOSITS
       DESCRIPTION, INCLUDING NAME OF HOLDER OF DEPOSIT




Official Form 206A/B                                  Schedule A/B: Assets - Real and Personal Property                                Page 1 of 7
 Debtor     SOUPMAN, INC.        Case 17-11314-LSS                   Doc 9      Filed 07/13/17           Page
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                                                                                                             17-11314
            (Name)


                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest

 8.   PREPAYMENTS, INCLUDING PREPAYMENTS ON EXECUTORY CONTRACTS, LEASES,
      INSURANCE, TAXES, AND RENT
      DESCRIPTION, INCLUDING NAME OF HOLDER OF PREPAYMENT




 9    Total of Part 2.
      ADD LINES 7 THROUGH 8. COPY THE TOTAL TO LINE 81.

 Part 3:    ACCOUNTS RECEIVABLE

 10. DOES THE DEBTOR HAVE ANY ACCOUNTS RECEIVABLE?
      ¨    No. Go to Part 4.
      þ    Yes. Fill in the information below.


                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest

 11. ACCOUNTS RECEIVABLE
      OVER 90 DAYS OLD                              $1,965.41                                               = è                                $1,965.41
                                                                 -
                                                   face amount        doubtful or uncollectable accounts

 12   Total of Part 3.
      CURRENT VALUE ON LINES 11A + 11B = LINE 12. COPY THE TOTAL TO LINE 82.                                                                   $1,965.41


 Part 4:    INVESTMENTS

 13. DOES THE DEBTOR OWN ANY INVESTMENTS?
      þ    No. Go to Part 5.
      ¨    Yes. Fill in the information below.


                                                                                                           Valuation method used   Current value of
                                                                                                           for current value       debtor’s interest

 14. MUTUAL FUNDS OR PUBLICLY TRADED STOCKS NOT INCLUDED IN PART 1
      NAME OF FUND OR STOCK:




 15. NON-PUBLICLY TRADED STOCK AND INTERESTS IN INCORPORATED AND
     UNINCORPORATED BUSINESSES, INCLUDING ANY INTEREST IN AN LLC,
     PARTNERSHIP, OR JOINT VENTURE



 16. GOVERNMENT BONDS, CORPORATE BONDS, AND OTHER NEGOTIABLE AND
     NON-NEGOTIABLE INSTRUMENTS NOT INCLUDED IN PART 1
      DESCRIBE:




 17   Total of Part 4.
      ADD LINES 14 THROUGH 16. COPY THE TOTAL TO LINE 83.

 Part 5:    INVENTORY, EXCLUDING AGRICULTURE ASSETS

 18. DOES THE DEBTOR OWN ANY INVENTORY (EXCLUDING AGRICULTURE ASSETS)?
      þ    No. Go to Part 6.
      ¨    Yes. Fill in the information below.




Official Form 206A/B                             Schedule A/B: Assets - Real and Personal Property                                            Page 2 of 7
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          General description                         Date of the last      Net book value of    Valuation method used      Current value of
                                                      physical inventory    debtor's interest    for current value          debtor’s interest
                                                                            (Where available)

 19. RAW MATERIALS



 20. WORK IN PROGRESS



 21. FINISHED GOODS, INCLUDING GOODS HELD FOR RESALE



 22. OTHER INVENTORY OR SUPPLIES



 23   Total of Part 5.
      ADD LINES 19 THROUGH 22. COPY THE TOTAL TO LINE 84.
 24. Is any of the property listed in Part 5 perishable?
     þ No
     ¨ Yes
 25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
     þ No
     ¨ Yes      Book value                      Valuation method                                                       Current value

 26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     þ No
     ¨ Yes

 Part 6:     FARMING AND FISHING-RELATED ASSETS (OTHER THAN TITLED MOTOR VEHICLES AND LAND)

 27. DOES THE DEBTOR OWN OR LEASE ANY FARMING AND FISHING-RELATED ASSETS (OTHER THAN TITLED MOTOR VEHICLES AND
     LAND)?
      þ     No. Go to Part 7.
      ¨     Yes. Fill in the information below.


          General description                                               Net book value of    Valuation method used      Current value of
                                                                            debtor's interest    for current value          debtor’s interest
                                                                            (Where available)

 28. CROPS—EITHER PLANTED OR HARVESTED



 29. FARM ANIMALS EXAMPLES: LIVESTOCK, POULTRY, FARM-RAISED FISH EXAMPLES:
     LIVESTOCK, POULTRY, FARM-RAISED FISH



 30. FARM MACHINERY AND EQUIPMENT (OTHER THAN TITLED MOTOR VEHICLES)
     (OTHER THAN TITLED MOTOR VEHICLES)



 31. FARM AND FISHING SUPPLIES, CHEMICALS, AND FEED



 32. OTHER FARMING AND FISHING-RELATED PROPERTY NOT ALREADY LISTED IN PART
     6



 33   Total of Part 6.
      ADD LINES 28 THROUGH 32. COPY THE TOTAL TO LINE 85.




Official Form 206A/B                              Schedule A/B: Assets - Real and Personal Property                                    Page 3 of 7
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 34. Is the debtor a member of an agricultural cooperative?
     þ No
     ¨ Yes. Is any of the debtor’s property stored at the cooperative?
          þ No
          ¨ Yes
 35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
     þ No
     ¨ Yes
 36. Is a depreciation schedule available for any of the property listed in Part 6?
     þ No
     ¨ Yes
 37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
     þ No
     ¨ Yes

 Part 7:     OFFICE FURNITURE, FIXTURES, AND EQUIPMENT; AND COLLECTIBLES

 38. DOES THE DEBTOR OWN OR LEASE ANY OFFICE FURNITURE, FIXTURES, EQUIPMENT, OR COLLECTIBLES?
      þ     No. Go to Part 8.
      ¨     Yes. Fill in the information below.



          General description                                                 Net book value of   Valuation method used   Current value of
                                                                              debtor's interest   for current value       debtor’s interest
                                                                              (Where available)

 39. OFFICE FURNITURE



 40. OFFICE FIXTURES



 41. OFFICE EQUIPMENT, INCLUDING ALL COMPUTER EQUIPMENT AND COMMUNICATION
     SYSTEMS EQUIPMENT AND SOFTWARE



 42. COLLECTIBLES EXAMPLES: ANTIQUES AND FIGURINES; PAINTINGS, PRINTS, OR
     OTHER ARTWORK; BOOKS, PICTURES, OR OTHER ART OBJECTS; CHINA AND
     CRYSTAL; STAMP, COIN, OR BASEBALL CARD COLLECTIONS; OTHER COLLECTIONS,
     MEMORABILIA, OR COLLECTIBLES EXAMPLES: ANTIQUES AND FIGURINES;
     PAINTINGS, PRINTS, OR OTHER ARTWORK; BOOKS, PICTURES, OR OTHER ART
     OBJECTS; CHINA AND CRYSTAL; STAMP, COIN, OR BASEBALL CARD COLLECTIONS;
     OTHER COLLECTIONS, MEMORABILIA, OR COLLECTIBLES



 43   Total of Part 7.
      ADD LINES 39 THROUGH 42. COPY THE TOTAL TO LINE 86.

 44. Is a depreciation schedule available for any of the property listed in Part 7?
     þ No
     ¨ Yes
 45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     þ No
     ¨ Yes

 Part 8:     MACHINERY, EQUIPMENT, AND VEHICLES

 46. DOES THE DEBTOR OWN OR LEASE ANY MACHINERY, EQUIPMENT, OR VEHICLES?
      þ     No. Go to Part 9.
      ¨     Yes. Fill in the information below.


          General description                                                 Net book value of   Valuation method used   Current value of
          Include year, make, model, and identification numbers (i.e., VIN,   debtor's interest   for current value       debtor’s interest
          HIN, or N-number)                                                   (Where available)



Official Form 206A/B                              Schedule A/B: Assets - Real and Personal Property                                  Page 4 of 7
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          General description                                                 Net book value of    Valuation method used   Current value of
          Include year, make, model, and identification numbers (i.e., VIN,   debtor's interest    for current value       debtor’s interest
          HIN, or N-number)                                                   (Where available)

 47. AUTOMOBILES, VANS, TRUCKS, MOTORCYCLES, TRAILERS, AND TITLED FARM
     VEHICLES



 48. WATERCRAFT, TRAILERS, MOTORS, AND RELATED ACCESSORIES EXAMPLES:
     BOATS, TRAILERS, MOTORS, FLOATING HOMES, PERSONAL WATERCRAFT, AND
     FISHING VESSELS EXAMPLES: BOATS, TRAILERS, MOTORS, FLOATING HOMES,
     PERSONAL WATERCRAFT, AND FISHING VESSELS



 49. AIRCRAFT AND ACCESSORIES



 50. OTHER MACHINERY, FIXTURES, AND EQUIPMENT (EXCLUDING FARM MACHINERY
     AND EQUIPMENT)



 51   Total of Part 8.
      ADD LINES 47 THROUGH 50. COPY THE TOTAL TO LINE 87.

 52. Is a depreciation schedule available for any of the property listed in Part 8?
     þ No
     ¨ Yes
 53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     þ No
     ¨ Yes

 Part 9:     REAL PROPERTY

 54. DOES THE DEBTOR OWN OR LEASE ANY REAL PROPERTY?
      þ     No. Go to Part 10.
      ¨     Yes. Fill in the information below.


 55. ANY BUILDING, OTHER IMPROVED REAL ESTATE, OR LAND WHICH THE DEBTOR OWNS OR IN WHICH THE DEBTOR HAS AN INTEREST


          Description and location of property          Nature and extent     Net book value of    Valuation method used   Current value of
          Include street address or other description   of debtor’s           debtor's interest    for current value       debtor’s interest
          such as Assessor Parcel Number (APN),         interest in           (Where available)
          and type of property (for example, acreage,   property
          factory, warehouse, apartment or office
          building), if available




 56   Total of Part 9.
      ADD THE CURRENT VALUE ON LINES 55.1 THROUGH 55.6 AND ENTRIES FROM ANY
      ADDITIONAL SHEETS. COPY THE TOTAL TO LINE 88.

 57. Is a depreciation schedule available for any of the property listed in Part 9?
     þ No
     ¨ Yes
 58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
     þ No
     ¨ Yes

 Part 10: INTANGIBLES AND INTELLECTUAL PROPERTY

 59. DOES THE DEBTOR HAVE ANY INTERESTS IN INTANGIBLES OR INTELLECTUAL PROPERTY?
      þ     No. Go to Part 11.
      ¨     Yes. Fill in the information below.



Official Form 206A/B                                Schedule A/B: Assets - Real and Personal Property                                 Page 5 of 7
 Debtor        SOUPMAN, INC.      Case 17-11314-LSS              Doc 9       Filed 07/13/17           Page
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          General description                                               Net book value of    Valuation method used    Current value of
                                                                            debtor's interest    for current value        debtor’s interest
                                                                            (Where available)

 60. PATENTS, COPYRIGHTS, TRADEMARKS, AND TRADE SECRETS



 61. INTERNET DOMAIN NAMES AND WEBSITES



 62. LICENSES, FRANCHISES, AND ROYALTIES



 63. CUSTOMER LISTS, MAILING LISTS, OR OTHER COMPILATIONS



 64. OTHER INTANGIBLES, OR INTELLECTUAL PROPERTY



 65. GOODWILL



 66   Total of Part 10.
      ADD LINES 60 THROUGH 65. COPY THE TOTAL TO LINE 89.

 67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
     þ No
     ¨ Yes
           ¨
 68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
     þ No
     ¨ Yes
 69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
     þ No
     ¨ Yes

 Part 11: ALL OTHER ASSETS

 70. DOES THE DEBTOR OWN ANY OTHER ASSETS THAT HAVE NOT YET BEEN REPORTED ON THIS FORM?
     INCLUDE ALL INTERESTS IN EXECUTORY CONTRACTS AND UNEXPIRED LEASES NOT PREVIOUSLY REPORTED ON THIS FORM.
      þ     No. Go to Part 12.
      ¨     Yes. Fill in the information below.

                                                                                                                          Current value of
                                                                                                                          debtor’s interest

 71. NOTES RECEIVABLE
      DESCRIPTION (INCLUDE NAME OF OBLIGOR)




 72. TAX REFUNDS AND UNUSED NET OPERATING LOSSES (NOLS)
      DESCRIPTION (FOR EXAMPLE, FEDERAL, STATE, LOCAL)




 73. INTERESTS IN INSURANCE POLICIES OR ANNUITIES



 74. CAUSES OF ACTION AGAINST THIRD PARTIES (WHETHER OR NOT A LAWSUIT HAS
     BEEN FILED)




Official Form 206A/B                              Schedule A/B: Assets - Real and Personal Property                                     Page 6 of 7
 Debtor       SOUPMAN, INC.             Case 17-11314-LSS                            Doc 9           Filed 07/13/17           Page
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                                                                                                                                                              Current value of
                                                                                                                                                              debtor’s interest

 75. OTHER CONTINGENT AND UNLIQUIDATED CLAIMS OR CAUSES OF ACTION OF EVERY
     NATURE, INCLUDING COUNTERCLAIMS OF THE DEBTOR AND RIGHTS TO SET OFF
     CLAIMS



 76. TRUSTS, EQUITABLE OR FUTURE INTERESTS IN PROPERTY



 77. OTHER PROPERTY OF ANY KIND NOT ALREADY LISTED EXAMPLES: SEASON
     TICKETS, COUNTRY CLUB MEMBERSHIP EXAMPLES: SEASON TICKETS, COUNTRY
     CLUB MEMBERSHIP



 78    Total of Part 11.
       ADD LINES 71 THROUGH 77. COPY THE TOTAL TO LINE 90.

 79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
     þ No
     ¨ Yes

 Part 12: Summary


 In Part 12 copy all of the totals from the earlier parts of the form.


          Type of property                                                                       Current value of                  Current value of real
                                                                                                 personal property                 property
 80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.


 81. Deposits and prepayments. Copy line 9, Part 2.


 82. Accounts receivable. Copy line 12, Part 3.                                                              $1,965.41


 83. Investments. Copy line 17, Part 4.


 84. Inventory. Copy line 23, Part 5.


 85. Farming and fishing-related assets. Copy line 33, Part 6.


 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.


 88. Real property. Copy line 56, Part 9. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .è


 89. Intangibles and intellectual property. Copy line 66, Part 10.


 90. All other assets. Copy line 78, Part 11.                                             +

 91. Total. Add lines 80 through 90 for each column. . . . . . . . . 91a.                                    $1,965.41       + 91b.

 92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               $1,965.41




Official Form 206A/B                                          Schedule A/B: Assets - Real and Personal Property                                                          Page 7 of 7
                                 Case
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                                           case:                        Doc 9        Filed 07/13/17           Page 9 of 25
 Debtor        SOUPMAN, INC.


 United States Bankruptcy Court for the: District of Delaware


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  (if known)
                                                                                                                                         ¨ Check if this is an
                                                                                                                                            amended filing

 Official Form 206D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                              12/15

 Be as complete and accurate as possible.

 1.    1. Do any creditors have claims secured by debtor’s property?
       þ       No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
       ¨       Yes. Fill in all of the information below.




Official Form 206D                              Schedule D: Creditors Who Have Claims Secured by Property                                            Page 1 of 1
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 Debtor        SOUPMAN, INC.


 United States Bankruptcy Court for the: District of Delaware


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  (if known)
                                                                                                                                ¨ Check if this is an
                                                                                                                                   amended filing

 Official Form 206E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                             12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
 unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
 on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
 (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
 the Additional Page of that Part included in this form.


  Part 1: List All Creditors with PRIORITY Unsecured Claims


 1.    Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
       ¨ No. Go to Part 2.
       þ Yes. Go to line 2.
 2.    List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
       3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                              Total claim           Priority amount

 2.1            Priority creditor’s name and mailing address As of the petition filing date, the claim is:         UNKNOWN                UNKNOWN
                                                                Check all that apply.
                CONNECTICUT DEPT OF REVENUE
                SERVICES                                        þ Contingent
                25 SIGOURNEY ST, SUITE 2                        þ Unliquidated
                                                                þ Disputed
                                                                Basis for the claim:
                HARTFORD, CT 06106-5032                         TAX
                                                                Is the claim subject to offset?
                Date or dates debt was incurred                 þ No
                                                                ¨ Yes
                Last 4 digits of account number:
                Specify Code subsection of PRIORITY
                unsecured claim: 11 U.S.C. § 507(a) ()

 2.2            Priority creditor’s name and mailing address As of the petition filing date, the claim is:         UNKNOWN                UNKNOWN
                                                                Check all that apply.
                CONNECTICUT DEPT OF REVENUE
                SERVICES                                        þ Contingent
                OPERATIONS DIVISION - INCOME TAX                þ Unliquidated
                TEAMS                                           þ Disputed
                450 COLUMBUS BLVD., STE 1                       Basis for the claim:
                                                                TAX
                HARTFORD, CT 06103-5032
                                                                Is the claim subject to offset?
                                                                þ No
                Date or dates debt was incurred                 ¨ Yes
                Last 4 digits of account number:
                Specify Code subsection of PRIORITY
                unsecured claim: 11 U.S.C. § 507(a) ()




Official Form 206E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                     Page 1 of 13
 Debtor     SOUPMAN, INC.     Case 17-11314-LSS                 Doc 9          Filed 07/13/17           Page17-11314
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  Part 1:   Additional Page

                                                                                                           Total claim   Priority amount

 2.3        Priority creditor’s name and mailing address As of the petition filing date, the claim is:         UNKNOWN        UNKNOWN
                                                           Check all that apply.
            DISTRICT OF CONNECTICUT
            DEIRDRE M. DALY                                þ Contingent
            NEW HAVEN OFFICE                               þ Unliquidated
            157 CHURCH ST, FL 25                           þ Disputed
            NEW HAVEN, CT 06510                            Basis for the claim:
                                                           TAX
            Date or dates debt was incurred                Is the claim subject to offset?
                                                           þ No
            Last 4 digits of account number:               ¨ Yes
            Specify Code subsection of PRIORITY
            unsecured claim: 11 U.S.C. § 507(a) ()

 2.4        Priority creditor’s name and mailing address As of the petition filing date, the claim is:         UNKNOWN        UNKNOWN
                                                           Check all that apply.
            DISTRICT OF CONNECTICUT
            DEIRDRE M. DALY                                þ Contingent
            BRIDGEPORT OFFICE                              þ Unliquidated
            1000 LAFAYETTE BLVD, 10TH FL                   þ Disputed
            BRIDGEPORT, CT 06604                           Basis for the claim:
                                                           TAX
            Date or dates debt was incurred                Is the claim subject to offset?
                                                           þ No
            Last 4 digits of account number:               ¨ Yes
            Specify Code subsection of PRIORITY
            unsecured claim: 11 U.S.C. § 507(a) ()

 2.5        Priority creditor’s name and mailing address As of the petition filing date, the claim is:         UNKNOWN        UNKNOWN
                                                           Check all that apply.
            DISTRICT OF CONNECTICUT
            DEIRDRE M. DALY                                þ Contingent
            HARTFORD OFFICE                                þ Unliquidated
            450 MAIN ST, ROOM 328                          þ Disputed
            HARTFORD, CT 06103                             Basis for the claim:
                                                           TAX
            Date or dates debt was incurred                Is the claim subject to offset?
                                                           þ No
            Last 4 digits of account number:               ¨ Yes
            Specify Code subsection of PRIORITY
            unsecured claim: 11 U.S.C. § 507(a) ()

 2.6        Priority creditor’s name and mailing address As of the petition filing date, the claim is:         UNKNOWN        UNKNOWN
                                                           Check all that apply.
            NEW YORK DEPT. OF FINANCE
            BANKRUPTCY SECTION                             þ Contingent
            PO BOX 5300                                    þ Unliquidated
                                                           þ Disputed
            ALBANY, NY 12205-0300                          Basis for the claim:
                                                           TAX
            Date or dates debt was incurred                Is the claim subject to offset?
                                                           þ No
            Last 4 digits of account number:               ¨ Yes
            Specify Code subsection of PRIORITY
            unsecured claim: 11 U.S.C. § 507(a) ()




Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                               Page 2 of 13
 Debtor     SOUPMAN, INC.     Case 17-11314-LSS                 Doc 9          Filed 07/13/17           Page17-11314
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  Part 1:   Additional Page

                                                                                                           Total claim   Priority amount

 2.7        Priority creditor’s name and mailing address As of the petition filing date, the claim is:         UNKNOWN        UNKNOWN
                                                           Check all that apply.
            NEW YORK DEPT. OF FINANCE
            W.A. HARRIMAN CAMPUS, B8                       þ Contingent
            BLDG 9 RM 449                                  þ Unliquidated
                                                           þ Disputed
            ALBANY, NY 12227                               Basis for the claim:
                                                           TAX
            Date or dates debt was incurred                Is the claim subject to offset?
                                                           þ No
            Last 4 digits of account number:               ¨ Yes
            Specify Code subsection of PRIORITY
            unsecured claim: 11 U.S.C. § 507(a) ()

 2.8        Priority creditor’s name and mailing address As of the petition filing date, the claim is:         UNKNOWN        UNKNOWN
                                                           Check all that apply.
            NEW YORK DEPT. OF FINANCE
            W.A. HARRIMAN CAMPUS, B8                       þ Contingent
            RM 700                                         þ Unliquidated
                                                           þ Disputed
            ALBANY, NY 12227                               Basis for the claim:
                                                           TAX
            Date or dates debt was incurred                Is the claim subject to offset?
                                                           þ No
            Last 4 digits of account number:               ¨ Yes
            Specify Code subsection of PRIORITY
            unsecured claim: 11 U.S.C. § 507(a) ()

 2.9        Priority creditor’s name and mailing address As of the petition filing date, the claim is:         UNKNOWN        UNKNOWN
                                                           Check all that apply.
            NYS DEPT OF TAXATION AND FINANCE
            ATTN: OFFICE OF COUNSEL                        þ Contingent
            BUILDING 9, ROOM 100                           þ Unliquidated
            WA HARRIMAN CAMPUS                             þ Disputed
            ALBANY, NY 12227                               Basis for the claim:
                                                           TAX
            Date or dates debt was incurred                Is the claim subject to offset?
                                                           þ No
            Last 4 digits of account number:               ¨ Yes
            Specify Code subsection of PRIORITY
            unsecured claim: 11 U.S.C. § 507(a) ()

 2.10       Priority creditor’s name and mailing address As of the petition filing date, the claim is:         UNKNOWN        UNKNOWN
                                                           Check all that apply.
            SOUTHERN DISTRICT OF NEW YORK
            JOON KIM                                       þ Contingent
            CIVIL DIVISION                                 þ Unliquidated
            86 CHAMBERS ST                                 þ Disputed
            NEW YORK, NY 10007                             Basis for the claim:
                                                           TAX
            Date or dates debt was incurred                Is the claim subject to offset?
                                                           þ No
            Last 4 digits of account number:               ¨ Yes
            Specify Code subsection of PRIORITY
            unsecured claim: 11 U.S.C. § 507(a) ()




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  Part 1:    Additional Page

                                                                                                                  Total claim          Priority amount

 2.11        Priority creditor’s name and mailing address As of the petition filing date, the claim is:                UNKNOWN               UNKNOWN
                                                             Check all that apply.
             SOUTHERN DISTRICT OF NEW YORK
             JOON KIM                                        þ Contingent
             MAIN OFFICE & CRIMINAL DIVISION                 þ Unliquidated
             ONE ST ANDREW’S PLAZA                           þ Disputed
             NEW YORK, NY 10007                              Basis for the claim:
                                                             TAX
             Date or dates debt was incurred                 Is the claim subject to offset?
                                                             þ No
             Last 4 digits of account number:                ¨ Yes
             Specify Code subsection of PRIORITY
             unsecured claim: 11 U.S.C. § 507(a) ()

 2.12        Priority creditor’s name and mailing address As of the petition filing date, the claim is:                UNKNOWN               UNKNOWN
                                                             Check all that apply.
             SOUTHERN DISTRICT OF NEW YORK
             JOON KIM                                        þ Contingent
             WHITE PLAINS DIVISION                           þ Unliquidated
             300 QUARROPAS ST                                þ Disputed
             WHITE PLAINS, NY 10601                          Basis for the claim:
                                                             TAX
             Date or dates debt was incurred                 Is the claim subject to offset?
                                                             þ No
             Last 4 digits of account number:                ¨ Yes
             Specify Code subsection of PRIORITY
             unsecured claim: 11 U.S.C. § 507(a) ()

  Part 2:    List All Creditors with NONPRIORITY Unsecured Claims


 3.     List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
        unsecured claims, fill out and attach the Additional Page of Part 2.

                                                                                                                                    Amount of claim

 3.1         Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:                     $2,667.44
                                                                              Check all that apply.
             1 WORLD SYNC
                                                                              ¨ Contingent
             Date or dates debt was incurred                                  ¨ Unliquidated
                                                                              ¨ Disputed
             Last 4 digits of account number:
                                                                              Basis for the claim:
                                                                              TRADE DEBT
                                                                              Is the claim subject to offset?
                                                                              þ No
                                                                              ¨ Yes

 3.2         Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:                       $224.90
                                                                              Check all that apply.
             ADVANTAGE SALES & MARKETING
                                                                              ¨ Contingent
             Date or dates debt was incurred                                  ¨ Unliquidated
                                                                              ¨ Disputed
             Last 4 digits of account number:
                                                                              Basis for the claim:
                                                                              ACCRUED COMMISSION
                                                                              Is the claim subject to offset?
                                                                              þ No
                                                                              ¨ Yes




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  Part 2:   Additional Page

                                                                                                                       Amount of claim

 3.3        Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $24,498.00
                                                                       Check all that apply.
            ALISTAIR ANGUS
                                                                       ¨ Contingent
            Date or dates debt was incurred                            ¨ Unliquidated
            9/21/2012                                                  ¨ Disputed

            Last 4 digits of account number:                           Basis for the claim:
                                                                       UNSECURED NOTE
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.4        Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $145,241.38
                                                                       Check all that apply.
            BRAND INITIATIVES GROUP
                                                                       ¨ Contingent
            Date or dates debt was incurred                            ¨ Unliquidated
                                                                       ¨ Disputed
            Last 4 digits of account number:
                                                                       Basis for the claim:
                                                                       TRADE DEBT
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.5        Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,655.55
                                                                       Check all that apply.
            BUSINESS WIRE, INC.
                                                                       ¨ Contingent
            Date or dates debt was incurred                            ¨ Unliquidated
                                                                       ¨ Disputed
            Last 4 digits of account number:
                                                                       Basis for the claim:
                                                                       TRADE DEBT
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.6        Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,905.31
                                                                       Check all that apply.
            COOLIFE STUDIOS, INC.
                                                                       ¨ Contingent
            Date or dates debt was incurred                            ¨ Unliquidated
                                                                       ¨ Disputed
            Last 4 digits of account number:
                                                                       Basis for the claim:
                                                                       TRADE DEBT
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.7        Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $16,500.00
                                                                       Check all that apply.
            COTE MEDIA
                                                                       ¨ Contingent
            Date or dates debt was incurred                            ¨ Unliquidated
                                                                       ¨ Disputed
            Last 4 digits of account number:
                                                                       Basis for the claim:
                                                                       TRADE DEBT
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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  Part 2:   Additional Page

                                                                                                                       Amount of claim

 3.8        Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $292.11
                                                                       Check all that apply.
            COUPONS.COM INCORPORATED
                                                                       ¨ Contingent
            Date or dates debt was incurred                            ¨ Unliquidated
                                                                       ¨ Disputed
            Last 4 digits of account number:
                                                                       Basis for the claim:
                                                                       TRADE DEBT
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.9        Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            D. L. BLAIR, INC.
                                                                       ¨ Contingent
            Date or dates debt was incurred                            ¨ Unliquidated
                                                                       ¨ Disputed
            Last 4 digits of account number:
                                                                       Basis for the claim:
                                                                       TRADE DEBT
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.10       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $100,324.00
                                                                       Check all that apply.
            DR DAVID BERNADERET
                                                                       ¨ Contingent
            Date or dates debt was incurred                            ¨ Unliquidated
            7/2/2014                                                   ¨ Disputed

            Last 4 digits of account number:                           Basis for the claim:
                                                                       UNSECURED NOTE
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.11       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $52,293.00
                                                                       Check all that apply.
            DR MARK HELLNER
                                                                       ¨ Contingent
            Date or dates debt was incurred                            ¨ Unliquidated
            10/15/2012                                                 ¨ Disputed
            Last 4 digits of account number:                           Basis for the claim:
                                                                       UNSECURED NOTE
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.12       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $2,119.00
                                                                       Check all that apply.
            EDGAR AGENTS, LLC
                                                                       ¨ Contingent
            Date or dates debt was incurred                            ¨ Unliquidated
                                                                       ¨ Disputed
            Last 4 digits of account number:
                                                                       Basis for the claim:
                                                                       TRADE DEBT
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

 3.13       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $51,497.00
                                                                       Check all that apply.
            ELITE CONSULTING 401K
                                                                       ¨ Contingent
            Date or dates debt was incurred                            ¨ Unliquidated
            9/20/2012                                                  ¨ Disputed

            Last 4 digits of account number:                           Basis for the claim:
                                                                       UNSECURED NOTE
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.14       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $2,143.78
                                                                       Check all that apply.
            GLOBAL NEWSWIRE
                                                                       ¨ Contingent
            Date or dates debt was incurred                            ¨ Unliquidated
                                                                       ¨ Disputed
            Last 4 digits of account number:
                                                                       Basis for the claim:
                                                                       TRADE DEBT
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.15       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $8,403.95
                                                                       Check all that apply.
            GLOBE NEWSWIRE
                                                                       ¨ Contingent
            Date or dates debt was incurred                            ¨ Unliquidated
                                                                       ¨ Disputed
            Last 4 digits of account number:
                                                                       Basis for the claim:
                                                                       TRADE DEBT
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.16       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,500.00
                                                                       Check all that apply.
            GROCERY HEADQUARTERS
                                                                       ¨ Contingent
            Date or dates debt was incurred                            ¨ Unliquidated
                                                                       ¨ Disputed
            Last 4 digits of account number:
                                                                       Basis for the claim:
                                                                       TRADE DEBT
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.17       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $3,645.36
                                                                       Check all that apply.
            HOWARD TEICH
                                                                       ¨ Contingent
            Date or dates debt was incurred                            ¨ Unliquidated
                                                                       ¨ Disputed
            Last 4 digits of account number:
                                                                       Basis for the claim:
                                                                       ACCRUED COMMISSION
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

 3.18       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $389.28
                                                                       Check all that apply.
            HOWARD TEICH
                                                                       ¨ Contingent
            Date or dates debt was incurred                            ¨ Unliquidated
                                                                       ¨ Disputed
            Last 4 digits of account number:
                                                                       Basis for the claim:
                                                                       TRADE DEBT
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.19       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $27,200.00
                                                                       Check all that apply.
            INCHARGE INNOVATIONS, INC.
                                                                       ¨ Contingent
            Date or dates debt was incurred                            ¨ Unliquidated
                                                                       ¨ Disputed
            Last 4 digits of account number:
                                                                       Basis for the claim:
                                                                       TRADE DEBT
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.20       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $122,959.21
                                                                       Check all that apply.
            INTEGRATED MARKETING SERVICES
                                                                       ¨ Contingent
            Date or dates debt was incurred                            ¨ Unliquidated
                                                                       ¨ Disputed
            Last 4 digits of account number:
                                                                       Basis for the claim:
                                                                       TRADE DEBT
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.21       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $41,058.00
                                                                       Check all that apply.
            JEFF FREEDMAN 3
                                                                       ¨ Contingent
            Date or dates debt was incurred                            ¨ Unliquidated
            7/20/2015                                                  ¨ Disputed
            Last 4 digits of account number:                           Basis for the claim:
                                                                       UNSECURED NOTE
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.22       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $35,542.00
                                                                       Check all that apply.
            JENNIFER SCHOCH 1
                                                                       ¨ Contingent
            Date or dates debt was incurred                            ¨ Unliquidated
            2/3/2012                                                   ¨ Disputed
            Last 4 digits of account number:                           Basis for the claim:
                                                                       UNSECURED NOTE
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

 3.23       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $20,071.00
                                                                       Check all that apply.
            JENNIFER SCHOCH 2
                                                                       ¨ Contingent
            Date or dates debt was incurred                            ¨ Unliquidated
            2/29/2012                                                  ¨ Disputed

            Last 4 digits of account number:                           Basis for the claim:
                                                                       UNSECURED NOTE
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.24       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $49,780.00
                                                                       Check all that apply.
            KEITH BURHDORF
                                                                       ¨ Contingent
            Date or dates debt was incurred                            ¨ Unliquidated
            10/1/2012                                                  ¨ Disputed

            Last 4 digits of account number:                           Basis for the claim:
                                                                       UNSECURED NOTE
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.25       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $710.40
                                                                       Check all that apply.
            KINGS SUPERMARKETS, INC.
                                                                       ¨ Contingent
            Date or dates debt was incurred                            ¨ Unliquidated
                                                                       ¨ Disputed
            Last 4 digits of account number:
                                                                       Basis for the claim:
                                                                       TRADE DEBT
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.26       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $3,000.00
                                                                       Check all that apply.
            LORICON ANALYTICAL TESTING LABORATORY, LL
                                                                       ¨ Contingent
            Date or dates debt was incurred                            ¨ Unliquidated
                                                                       ¨ Disputed
            Last 4 digits of account number:
                                                                       Basis for the claim:
                                                                       TRADE DEBT
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.27       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,200.00
                                                                       Check all that apply.
            NSG, INC.
                                                                       ¨ Contingent
            Date or dates debt was incurred                            ¨ Unliquidated
                                                                       ¨ Disputed
            Last 4 digits of account number:
                                                                       Basis for the claim:
                                                                       TRADE DEBT
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

 3.28       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            PACKAGING SPECIALISTS
                                                                       ¨ Contingent
            Date or dates debt was incurred                            ¨ Unliquidated
                                                                       ¨ Disputed
            Last 4 digits of account number:
                                                                       Basis for the claim:
                                                                       TRADE DEBT
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.29       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $2,800.00
                                                                       Check all that apply.
            PENTAGRAM
                                                                       ¨ Contingent
            Date or dates debt was incurred                            ¨ Unliquidated
                                                                       ¨ Disputed
            Last 4 digits of account number:
                                                                       Basis for the claim:
                                                                       TRADE DEBT
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.30       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $13,000.00
                                                                       Check all that apply.
            PENTON MEDIA
                                                                       ¨ Contingent
            Date or dates debt was incurred                            ¨ Unliquidated
                                                                       ¨ Disputed
            Last 4 digits of account number:
                                                                       Basis for the claim:
                                                                       TRADE DEBT
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.31       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:          $1,023,748.00
                                                                       Check all that apply.
            PERRY TREBACH - 4/28/2016 SETTLEMENT
                                                                       ¨ Contingent
            Date or dates debt was incurred                            ¨ Unliquidated
            4/28/2016                                                  ¨ Disputed
            Last 4 digits of account number:                           Basis for the claim:
                                                                       UNSECURED NOTE
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.32       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $295.01
                                                                       Check all that apply.
            RJW TRANSPORT, INC.
                                                                       ¨ Contingent
            Date or dates debt was incurred                            ¨ Unliquidated
                                                                       ¨ Disputed
            Last 4 digits of account number:
                                                                       Basis for the claim:
                                                                       TRADE DEBT
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

 3.33       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $32,076.09
                                                                       Check all that apply.
            ROBINSON BROG LEINWNAD GREENE GENOVESE &
                                                                       ¨ Contingent
            Date or dates debt was incurred                            ¨ Unliquidated
                                                                       ¨ Disputed
            Last 4 digits of account number:
                                                                       Basis for the claim:
                                                                       TRADE DEBT
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.34       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,112.02
                                                                       Check all that apply.
            SEBASTIAN RAMETTA
                                                                       ¨ Contingent
            Date or dates debt was incurred                            ¨ Unliquidated
                                                                       ¨ Disputed
            Last 4 digits of account number:
                                                                       Basis for the claim:
                                                                       ACCRUED COMMISSION
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.35       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $2,967.28
                                                                       Check all that apply.
            SHOPPER EVENTS, LLC
                                                                       ¨ Contingent
            Date or dates debt was incurred                            ¨ Unliquidated
                                                                       ¨ Disputed
            Last 4 digits of account number:
                                                                       Basis for the claim:
                                                                       TRADE DEBT
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.36       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $5,700.00
                                                                       Check all that apply.
            STUDIO CAKE, LLC
                                                                       ¨ Contingent
            Date or dates debt was incurred                            ¨ Unliquidated
                                                                       ¨ Disputed
            Last 4 digits of account number:
                                                                       Basis for the claim:
                                                                       TRADE DEBT
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.37       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $15,505.93
                                                                       Check all that apply.
            TREVELINO/KELLER
                                                                       ¨ Contingent
            Date or dates debt was incurred                            ¨ Unliquidated
                                                                       ¨ Disputed
            Last 4 digits of account number:
                                                                       Basis for the claim:
                                                                       TRADE DEBT
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

 3.38       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $42,499.00
                                                                       Check all that apply.
            VICTORIA SUTHERLAND
                                                                       ¨ Contingent
            Date or dates debt was incurred                            ¨ Unliquidated
            9/21/2012                                                  ¨ Disputed

            Last 4 digits of account number:                           Basis for the claim:
                                                                       UNSECURED NOTE
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.39       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $6,289.70
                                                                       Check all that apply.
            VOGT WAREHOUSE
                                                                       ¨ Contingent
            Date or dates debt was incurred                            ¨ Unliquidated
                                                                       ¨ Disputed
            Last 4 digits of account number:
                                                                       Basis for the claim:
                                                                       TRADE DEBT
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.40       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,381.92
                                                                       Check all that apply.
            WESTERN PRINTING
                                                                       ¨ Contingent
            Date or dates debt was incurred                            ¨ Unliquidated
                                                                       ¨ Disputed
            Last 4 digits of account number:
                                                                       Basis for the claim:
                                                                       TRADE DEBT
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.41       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $100,396.00
                                                                       Check all that apply.
            WILLIAM GOGGINS
                                                                       ¨ Contingent
            Date or dates debt was incurred                            ¨ Unliquidated
            2/6/2012                                                   ¨ Disputed
            Last 4 digits of account number:                           Basis for the claim:
                                                                       UNSECURED NOTE
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.42       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,200.00
                                                                       Check all that apply.
            WILSON CONVERSE
                                                                       ¨ Contingent
            Date or dates debt was incurred                            ¨ Unliquidated
                                                                       ¨ Disputed
            Last 4 digits of account number:
                                                                       Basis for the claim:
                                                                       TRADE DEBT
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                              Page 12 of 13
 Debtor       SOUPMAN, INC.     Case 17-11314-LSS               Doc 9       Filed 07/13/17           Page17-11314
                                                                                   Case number (if known)  22 of 25
              (Name)


  Part 2:     Additional Page

                                                                                                                                 Amount of claim

 3.43         Nonpriority creditor’s name and mailing address             As of the petition filing date, the claim is:                        $2,551.13
                                                                          Check all that apply.
              YRC FREIGHT
                                                                          ¨ Contingent
              Date or dates debt was incurred                             ¨ Unliquidated
                                                                          ¨ Disputed
              Last 4 digits of account number:
                                                                          Basis for the claim:
                                                                          TRADE DEBT
                                                                          Is the claim subject to offset?
                                                                          þ No
                                                                          ¨ Yes

    Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims


   5.     Add the amounts of priority and nonpriority unsecured claims.


                                                                                                                      Total of claim amounts


   5a. Total claims from Part 1                                                                             5a.                           $0.00



   5b. Total claims from Part 2                                                                             5b.   +               $1,968,342.75



   5c. Total of Parts 1 and 2                                                                               5c.                   $1,968,342.75
       Lines 5a + 5b = 5c.




Official Form 206E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 13 of 13
                                Casethe17-11314-LSS
  Fill in this information to identify  case:                      Doc 9        Filed 07/13/17            Page 23 of 25
 Debtor        SOUPMAN, INC.


 United States Bankruptcy Court for the: District of Delaware


 Case number        17-11314
  (if known)
                                                                                                                                     ¨ Check if this is an
                                                                                                                                         amended filing

 Official Form 206G
 Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15

 Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1.    Does the debtor have any executory contracts or unexpired leases?
       þ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       ¨ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
         Form 206A/B).




Official Form 206G                                 Schedule G: Executory Contracts and Unexpired Leases                                           Page 1 of 1
                                Casethe17-11314-LSS
  Fill in this information to identify  case:                    Doc 9        Filed 07/13/17           Page 24 of 25
 Debtor        SOUPMAN, INC.


 United States Bankruptcy Court for the: District of Delaware


 Case number        17-11314
  (if known)
                                                                                                                                 ¨ Check if this is an
                                                                                                                                     amended filing

 Official Form 206H
 Schedule H: Codebtors                                                                                                                             12/15

 Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
 Additional Page to this page.


 1.    Does the debtor have any codebtors?
       þ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       ¨ Yes.




Official Form 206H                                              Schedule H: Codebtors                                                         Page 1 of 1
                                  Case 17-11314-LSS
  Fill in this information to identify the case:
                                                                        Doc 9           Filed 07/13/17               Page 25 of 25
 Debtor        SOUPMAN, INC.


 United States Bankruptcy Court for the: District of Delaware


 Case number        17-11314
  (if known)




 Official Form 202
 Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15
 An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
 form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
 amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
 and the date. Bankruptcy Rules 1008 and 9011.

 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
 connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
 and 3571.

                Delcaration and signature


          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
          another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

          þ Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

          þ Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

          þ Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

          þ Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

          þ Schedule H: Codebtors (Official Form 206H)

          þ Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

          ¨ Amended Schedule

          ¨ Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

          ¨ Other document that requires a declaration

          I declare under penalty of perjury that the foregoing is true and correct.


          Executed on 7/13/2017
                         MM / DD / YYYY
                                                                û   /s/ Mike Wyse
                                                                    Signature of individual signing on behalf of debtor


                                                                    Mike Wyse
                                                                    Printed name


                                                                    Chief Restructuring Officer
                                                                    Position or relationship to debtor




Official Form 202                             Declaration Under Penalty of Perjury for Non-Individual Debtors
